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                            U NITED STATES DISTRICT CO UR T
                            SO UTH ERN D ISTRICT O F FLO RIDA
                                          23-6566-M J-STR A U SS
                            C ASE NO .
                                                                      FILED BY             AT         D .c .

                                                                                Nov I7,2023
  IN RE :CRIM INA L C O M PLM NT                                               CANWEYAC YM *
                                              /                                 LERKtl...
                                                                                       @ D1*t CK
                                                                               R.D.O F FkA .-FTl,
                                 CR IM INAL CO VER SH EET

         Didthismatteroriginatefrom amatterpending in theNorthernRegionoftheUnited States
         Attorney'sOffcepriortoAugust8,2014(Mag.JudgeShaniekM .Maynard)?No.
      2. D id thism atteroriginate from am atterpending in the CentralRegion ofthe United States
         Attorney'sOfficepriortoOctober3,2019(M ag.JudgeJaredM .Strauss)?No.
         D id this m atter involve the participation of or consultation w ith now M agistrate Judge
         Eduardo 1.Sanchez during histenure atthe U.S.A ttorney's Office,which concluded on
         January 22,2023? No.


                                                     Respectfully submitted,

                                                     M ARK EN ZY LAPO W TE
                                                     U NITED STA TES A TTORN EY

                                                                      > 5
                                              B y:        '
                                                     EdwardN.Stamm (FL Bar#373826)
                                                      AssistantUnited StatesAttorney
                                                      U .S.Attorney's Om ce -SDFL
                                                      99 N ortheastFourth Street,8th Floor
                                                      M iam i,Florida 33132-2111
                                                      (305)961-9164
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AO 91(Rev.11/11) CriminalComplaint

                                U NITED STATES D ISTRICT COURT
                                                        forthe
                                             Southern DistrictofFlorida

                United StatesofAm erica
                                                                 CaseNo 23-6566-M J-STR A U SS
                                                                          .
              FRENELCENAT ('dCENAT')
                                                                                  Fjuso sv                   AT      o.c .

                        Ddetantls)
                                                                                 7            Nov 17,2023
                                                                                              ANGG A E,NoM
                                          C RIM IN A L C O M PLA INT                         CLERK U S DI*T.CK
                                                                                             s.o.oeitk.-:vu
         1,thecomplainantin thiscase,statethatthe following istrue tothebestofmy knowledge and belief.
On oraboutthedatets)of     10/16/2023r11/16/2023       inthecounty of Browardandelsewhere                         inthe
    Southvrn    Districtof       Florida       ,thedefendantts)violated:
            Ce eM ion                                               tXfelœ D- liption
 18U.S.C.51951                            HobbsActextodion undercolorofofficialri   ght& attempt.
 18U.S.C.0641                             Theftofgovernmentfunds.
 21U.S.C.5846                             Attempted possessionwith intentto distribute cocaine.




         Thiscriminalcomplaintisbased on thesefacts:
 SEE AU ACHED AFFIDAVIT OF SPECIAL AGENT.




          d Continuedontheattachedsheet.

                                                                                           nant'ségnature
                                                                              Lindsey Kellis,FBISpeci
                                                                                                    alAgent
                                                                                     Printe narœ and ti
                                                                                                      tl
                                                                                                       e

 Sworn to beforeme and signed in my presence.

 Date:           11/17/2023
                                                                                             ségnature
 city and state:                Fod Lauderdale,Flori
                                                   da               Honorable Jared M.Strauss,U.S.Magistrate Judge
                                                                                     Printe narreand title
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                   A FFIDA W T IN SU PPO RT O F CRIM INA L C OM PLM N T

          1,Lindsey Kellis,being duly sw orn,depose and state asfollows:

                        INTRO DU CTIO N AN D A GENT BACK G R O UND

                 Iam aSpecialAgentoftheFederalBureauoflnvestigation(FB1)andhavebeen
   so employed since 2022.1have received intensive training atthe FBIAcademy in Quantico,
   V irginia,focused on both crim inaland nationalsecurity investigations. Iam currently assigned to

   the M iam iD ivision Palm Beach County ResidentA gency and w ork as a m em ber of the Public

   Corruption Unit,w ith other Special Agents and local law enforcem ent.1 have participated in

   investigationsinvolvingthecorruption ofelectedofficialsand law enforcementoffcersand other

   violationsofFederallaw .lam a law enforcem entofficeroftheU nited States,and lam em powered

   to conductinvestigations,execute warrants,and m ake arrestsforoftknsesagainsttheUnited States

   enum erated in,butnotlim ited to,Title 18 and Title 21oftheU nited StatesCode.
          2.      This affidavit is subm itted in supportof a crim inalcom plaintcharging FREN EL

   CENAT CECENAT'')withattemptedHobbsActextortionundercolorofofscialright(18U.S.C.
   j1951);theftofgovernmentfunds(18 U.S.C.j641);and attempted possession with intentto
   distributecocaine(21U.S.C.5846).
                  The statementsin thisaffidavitare based upon my personalknowledge,training

   and experience, as well as on inform ation provided by other individuals, including civilian

   witnesses and other law enforcement om cials,and my review of records and other evidence

   obtained during the courseofthisinvestigation.Becausethisaffidavitisbeing submitted forthe

   lim ited purpose ofestablishing probable causeto obtain the requested crim inalcom plaint,itdoes

   not contain allthe facts regarding this case of which l am aware,but only those facts and

   circum stances suftscientto establish probable cause.
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                                       PRO BABLE CA USE
                 CEN AT isacertifed PoliceO fficerem ployed by City ofM iam iPolice Departm ent

   (M PD)sinceapproximately September9,2008.SinceapproximatelyAugust2020,CENAT has
   been assigned to the M PD'S Administrative Division, working in the Property and

   Evidence/vault/W arehouseUnit.Ata1ltimesrelevanttothisComplaint,CENAT hasbeen issued
   and using an M PD unm arked police vehicle,specifically,a 2016 Black Ford Explorer,license

   plate X176652,asa ççtakehom e''vehicle.


          5.     A l1M PD Police Oftscersare provided w ith the DepartmentalOrdersw hich contain

   SIPD Rules and Regulations when hired to which they are bound.M PD Police OfGcers are

   endow ed w ith legalauthority and are given thispow erand responsibility by the people to protect

   individualrights,to preservethepublic peace,to enforcethe law,to protectlife and property,to

   preventand detectcrime,and to arrestviolatorsofthe law.The M PD Rulesand Regulations

   prohibit the unauthorized use or attem pted use of an officer's officialposition for personal or

   financialgain,and they also prohibitthe acceptance ofbribes,m oney,or othervaluables,while

   acting in the capacity of a police officer,eitheron or offduty.These Rulesand Regulationsalso

   state thatan officer shallnotaccepta bribe orengage in any actofextortion orunlaw fulm eansof

   obtaining money,areward,oranything ofvaluethrough theirposition.

                  In September of 2023,your affant interviewed a confdential human source

   (1%CHS'')whowasbeing investigatedforhis/herinvolvementin narcoticstrafscking activities,
   who stated thathe/she had been told thatCENAT had previously conducted traftk stops of

   individuals,knowntohavejustengagedindrugtransactions,forthepurposeofstealingthedrugs
   and/orm oney those individualsweretransporting. The CH S indicated thatCEN AT would use his

   officialM PD issued police vehicle and be in his M PD uniform when he conducted these traffic
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   stopsandthefts.The CH S inform ed youraffantthathe/shew asaw areofthisinform ation through

   amutualfriend(CltheAssociate'')ofboththeCHSandCENAT,whohadbeeninfrequentcontact
   with the CH S,and had expressed interestin utilizing the CH S for setting up drug transactions

   and/orproviding intelligence aboutdrug transactionsoccurring in the nearfuture. The CH S hasa

   prior Federalconviction for drug traftk kihg and is currently cooperating with multiple law
   enforcementagencieson anumberofmattersin an effortto receive favorable consideration in

   connection w ith the othercrim esforwhich he/she iscurrently underinvestigation. A spartofthe

   CHS'cooperation efforts,the CH S agreed to consensually record conversationsand m eetingsw ith

   the A ssociatc and CENA T under the direction and supervision of your afflant and other law

   enforcem entagents in furtherance ofthisinvestigation.
                 The investigation to date hasutilized the CHS,FB1undercoveragents,and several

   other law enforcem ent ofgcers. Video and/or audio recordings were m ade throughout the

   investigation which captured CENAT coordinating schemesand conducting traffic stopsoftwo

   individualswhohewastoldhadjustengaged indrugtransactions,withtheintention ofstealing
   the m oney and/or drugs involved in those illegaltransactions. ln addition to review ing the

   consensualrecordings made during this investigation,your afsantand other 1aw enforcem ent

   personnelinvolved in the investigation also have reviewed m essagesexchanged between the CH S

   and CEN AT and/orthe Associate.
          8.      On October l6,2023,the Associate introduced CENA T to the CHS ata m eeting at

   the A ssociate's office in Broward County thatwas consensually recorded by the CH S.CEN AT

   introduced him selfasSdFrenel''.The AssociatesCENA T and theCH S discussed an opportunity for

   CENAT to stop an individualimmediately following a drug transaction and stealapproximately
    $50,000 USD thatindividualwould have in theirvehicle.During thismeeting,CENAT showed
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  theCHS hisM PD unm arked policevehicleand sounded the lightsand sirens.CENAT described

   how helikesto setupthetçplay''(theterm (splay''hasbeendescribedtoyourafGantbytheCHS
   asaschemetostealdrugsand/ormoneyfrom anindividualknowntohavejustengagedinadrug
   transactionlandCENAT'Spreferencetodotrafficstopsafterreceiving intelligenceaboutadrug
   transaction and the participating individualsso thathe can usethatinformation during thetraffic

   stopstoensurecompliancewith hisdemands.CENAT indicatedthathectmductsthetrafficstops

   outside ofhisjurisdiction asapolice officerand whileoffduty.CENAT stated éion duty they
   (MPD)gotcomputerson andcan track m u andshitlikethat...youknow what1mean...ping
   yourphone...whatyou are doing in this area.You don'twanna do thatshitbro whileyou are on

   duty''and #ilf 1w ork down there lw illnever fuck down there bro''.CENA T and the A ssociate

   discussed severalpriorbad actsinvolving drug transactionswherethey coordinated and conducted

   trafficstopsutilizingCENAT'Spositionandauthorityasapoliceofficertocoercetheindividualts)
   stoppedtogiveuptheirdrugs,money,orbothtoCENAT inlieuofgoingtojail.CENAT stated
   i:Ijustneed bread now.''and he also discussed variousbillshe plansto pay with the money
   obtained from the upcom ing ffplay''.CENA T indicated the CH S could contacthim in the future

   through the Associate.

                  On November1,2023,theAssociatestarted a group chatwith CHS and CENAT

   via Signalwhich isan encrypted messaging and callapplication.CENAT wasidentified in this

   chatunderusername ddF'ro Swole'',using the phone number(561)856-2734 which had been
   previously identified as the phone num ber utilized by CEN AT through T-M obile subscriber

   inform ation.During the group chat,theparticipantsagreed to do athreeway calllaterthatevening

   to discussdetails forthe upcom ing tçplay''scheduled forFriday,Novem ber3,2023.
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                 On N ovem ber 1,2023,at or around 5:44 PM ,the A ssociate and CEN AT utilized

   Signalto group callthe CHS.During this consensually recorded call,CENA T told the CH S the

   upcoming idplay''mustbeatnightdueto hisconcernforcamerasand çttoo many eyes''.CHS and

   CENAT discussed the lfplay''and the individualCENAT willbe conducting the traffic stop on,

   who willhaveapproximately $50,000 USD from the purported drug transaction.CENAT asked
   the CH S to providehim w ith thetim e and location ofthe deal,aswellasthe driver'snam e,physical

   description,know n associates,and vehicle inform ation.CENA T indicated thathe w ould use this

   informationwhenheconductsthetrafficstopto scaretheindividualintobelievingtheywerebeing

   investigated and w atched for som e tim e so thatthe driverw ould be m ore likely to com ply w ith

   CENA T'S request for the m oney.CEN AT indicated thathe would ;nd a good spotto pullthe

   individual over for the traffic stop. CHS, CENA T, and the A ssociate agreed to m eet at the

   Associate's officeafterthetraffic stop to splitthe illicitdrug proceedstaken by CEN AT.

                  On N ovem ber2,2023,CEN A T m essaged the CHS via Signalto callhim .During

   a consensually recorded callbetw een the CH S and CENA T,CEN AT again requested inform ation

   aboutthe individualhe w ould be conducting the traffic stop on.CEN AT discussed the splitofthe

   proceedsand stated thathisrolewashisbadge.CENAT asked the CHS ifheexpected the driver

   to resistand the CH S told CEN A T thathe believed thedriverw ould be compliant. CEN AT went

   on to explain thathe would give the driver the choice ofgiving him the bag,believed to contain

   the m oney from the dnlg transaction,orspending life in federalprison.

                  On N ovem ber 3,2023,youraffiantand other law enforcem entpersonnelinitiated

   anundercoveroperationinvolvingtheuseoftw'
                                           oFBlundercoveremployees(UCE 1andUCE2).
   The U CES portrayed the roles of two individuals involved in a purported drug transaction

   exchanging 3 kilogramsofcocaine for$52,000 USD atthe Stadium Hotelparking lotin M iami
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   Gardens,Florida,atapproximately 7:30 PM .UCE 2wastoportraytheroleofthedrivercarrying

   theproceedsofthepurported salewho wouldbestopped byCENAT.

                 On N ovem ber 3,2023,atapproxim ately 10:57 A M ,CEN AT m essaged the CH S

   via Signaland asked tçhow we looking fortonightand on those details?''The CHS provided

   CEN A T with a m essage providing details about the driver, including his nicknam e,physical

   description,and his supposed associates and girlfriend. The m essage also stated thatthe driver

   had tlow n in from D allasforthe deal.ln responst,CEN AT asked the CH S ifhe knew the driver's

   realnam e and stated thatthe driverbeing from outoftown tçm akes itbetter''.CEN AT also told

   the CHS he w ould postup around 7 PM .

                 A tapproxim ately 6:03 PM ,duringa consensually recorded callvia Signal,CENA T

   indicated he was on his way to Stadium Hotel. CEN AT asked ifthe CH S had a description of

   the individual's vehicle and requested a m essage from the CH S when the driverwas leaving the

   drug transaction so CENAT could set up behind the individualand conductthe traffic stop.

   CEN A T and the CHS also discussed cutting the A ssociate out from the dealorlying aboutthe

   amounttaken from the traffc stop so the A ssociate getsa sm aller cutoftheproceeds.

                  Atapproxim ately 6:46PM ,CENA T wasstaged in theparking lotofStadium Hotel.

   Law enforcementinvolved in thisinvestigation observed CENAT in hisM pD-issued vehicle at

   that location. At approxim ately 7:36 PM , the CHS m essaged CENA T a description of the

   individual'svehicle forthe traffic stop.CENAT messaged the CHS CGH:justpulled in''.At
   approxim ately 7:38 PM ,UCE 1 walked in the Stadium Hotelparking lotwith a two-toned gray

   backpack and got into U CE 2's vehicle and they engaged in a staged drug transaction.CEN AT




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   messaged theCHS ttsomebody justgotin thecar?lsthatyourhomeboy?''UCE 1exited the
   vehicle with a black duftle bag containing FBIprop drugs.

                 Atapproxim ately 7:39 PM ,UCE 2 began to departthe parking lotof Stadium

   Hotel.CENAT followed UCE 2 outoftheparking lotand immediately turned on thelightsand

   sirensofhisM PD unm arkedpolicevehicleto conducta traffk stop ofU CE 2. OnceU CE 2 pulled

   over,CEN A T approached thevehicleand asked UCE forlicense and registration.UCE 2 provided

   CENAT with the driver'slicense,which wasultim ately taken by CENAT and neverreturnedto

   UCE 2 following the traffic stop.CENAT then introduced himself as ççoffker M artez''with

   ççM iamiPD -DadeCountyNarcoticsUnif'.CENAT toldUCE 2hewitnessedthedrugtransaction

   thathadjustoccurred between UCE 1and UCE 2.CENAT then utilized the information he
   received from the CH S to try to m ake U CE 2 believe he/she w asbeing investigated.CEN AT told

   UCE 2 to give him the backpack,which wasjustprovided to UCE 2 by UCE 1 during the
   controlled drug transaction and conhined $52,000 USD in officialUnited States Government
   funds belonging to the FBI.W hen UCE 2 reached for the backpack,CEN A T unbuttoned his

   holstered hisw eapon which wason hisduty belt.CENA T took thebackpack and asked UCE 2 for

   his/herphone.UCE 2 provided CENAT with thephone,whichwasnmning acovertaudio/video

   recording program ,and itcaptured a video ofCEN A T holding the phone up to his face before he

   gavethe phone back to U CE 2.CEN AT then gave U CE 2 the choice ofgiving him the backpack

   orgoingtojail,andasplanned,UCE 2toldhim totakethebackpack.CENATthenleftthescene
   with the backpack ofm oney. n is traffic stop wasconsensually audio recorded. ln addition,as

   partofthe investigation,law enforcem entphotographed and recorded the serialnum bersofallthe

   currency m aking up the $52,000 in U .S.governm entfundsbefore itwasplaced into the backpack

   forthisoperation.The$52,000 consisted solelyof$100 bills.
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                 Atapproxim ately 7:52 PM ,during arecorded phonecall,CEN A T told CH S hew as

   going to pulloverand countthe money to splititup.CHS and CENAT again discussed cutting

   the Associate outofthe deal.A tapproxim ately 8:02 PM ,during a consensually recorded phone

   call,CENA T asked the CH S aboutthe splitand if l4k soundsgood,7k forCH S and 7k forCH S'S

   friend (UCE 1)who wasbelieved tohaveprovided theCHS with the intelligence on thedrug
   transaction.CENA T asked forthe address ofthe location w here he and the CH S w ould m eetto

   splitthe m oney from thetraffic stop,and the CH S m essaged CEN AT theaddressofaH om eD epot

    in CoralSprings,Florida.

           l8.    A tapproxim ately 8:27 PM ,CENA T anived in the parking lotofthe Hom e Depot,

    exited hisM PD unm arked police vehicle,and approached the driver'sside window ofthe CH S'S

    vehicle.CENAT providedtheCHS withastack ofmoneytotaling $13,000USD.CENAT showed
    the CH S histacticalpolicevestand described forthe CH S thetraffic stop on U CE 2.Thism eeting

    lasted lessthan 10 m inutesand itwasconsensually audio recorded. ln addition,by review ing the

    serialnumbers,your affianthas confirm ed thatthis $13,000 was partof the $52,000 in U.S
    Governm entFundstaken by CEN AT from U CE 2 during the traffic stop.

           19.    Follow ing this m eeting w ith the CH S, CENA T drove straight to his residence

    located at1301N W 7* Court, Boynton Beach,Florida.CEN AT w as seen in hisdrivew ay exiting

    hisunm arked M PD vehicle with a bag underhisrightarm ,believed to be the gray backpack taken

    during thetrafficstop ofUCE 2thatcontainedtheremaining $39,000 USD.

           20.    On N ovem ber 7,2023,atapproxim ately l1:56 A M ,CEN A T called the CHS via

    Signaland asked iftheCHS knew ofaV<play''they could dofor5 çr iriblan''(Haitian Creole
    phraseusedwhenreftrringtodrugs/kilogramsasdescribedbytheCHStoyouraffiant).Thiscall


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   w as consensually recorded by the CH S.CENA T indicated he had som eone in Orlando thathe

   prom ised drugsfrom apriorçç
                              play''he did with theA ssociate and an unidentified individualknown

   by the alias ûûl-
                   lush''.CEN A T asked the CH S tçY ou think you can puta play together''and ffifyou

   could puta play...10 or7 whatever,putthatshittogether-''

          21.     On N ovem ber 12,2023,atapproxim ately 7:20 PM ,the CH S m ade a consensually

   recorded callto CENA T via Signalto discuss an upcom ing çtplay''scheduled for Novem ber 16,

   2023.CHS explained thatthe individualCENA T w ould be conducting the traffk stop on would

   haveapproximately 6or7 kilogram sofcocaineand atleast$30,000 USD from apurported drug
   transaction.TheCHS explained thatthe dealw asgoing to takeplacein Deerseld to which CENA T

    responded ddeven better''.Onceagain,CENAT told theCHS to givehim the detailson theguy he

    would be stopping.W hen discussing the splitofthe m oney and drugs being stolen by CEN AT,

    CENAT indicatedthattheindividualin Orlandohasnotcontactedhim again aboutthedrugs,and

    thattheCHScouldtakethedrugsandhe(CENAT)wouldtakethemoney.CENATthenrecounted
    how he did the traffic stop thefton N ovem ber 3,2023,and stated tibro ifeverything goes like

    Friday,1'11be in heaven''.The CH S indicated he would provide m ore detailslaterin the w eek.

           22.    On N ovem ber 14,2023,at approxim ately 3:04 PM ,CEN AT m essaged the CH S

    via Signaland contsrm ed thatthe dealwas stillon forN ovem ber 16,2023,and asked the CHS

    Siyou gotthatinfo on him ''.

           23.    On Novem ber 15,2023,atapproxim ately 7:29 A M ,CEN AT m essaged the CHS

    via Signaland asked ifthe CH S had çiany usefulinfo on the play?''The CH S provided CENA T

    withalocation,timemandgeneraldescriptionoftheindividualtobetraftk stopped.CENAT asked

    the CH S çilshe going to havethebread and thekeys togetheratthe sam e tim e?''


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          24.    A tapproxim ately 7:13 PM ,during a consensually recorded callvia Signal,the CH S

   and CEN AT discussed the upcom ing deal.including the 5 to 7 kilos ofcocaine thatsupposedly

   would bein thecarbeing stopped. CENAT indicatedhewouldgivethecocaineto the CHS and

   the CH S'Sbuddy to sellform oney,and he and the CHS also discussed the splitand the am ount

   each ççbrick''wouldgofOron thestreetbeingapproxim ately $16,000USD,foratotalof$112,000
   or$115,000.CENAT requested the exactlocation and description ofthe individual'svehicleso
   he would know who to pullover forthe traffk stop.The CH S agreed to provide the intelligence

   the day ofthe deal.

          25.    O nN ovem ber 16,2023,yourafsantand otherlaw enforcem entpersonnelinitiated

   anundercoveroperationinvolvingtheuseoftwoFBlundercoveremployees(UCE 1andUCE 2).
    The U CES portrayed the roles of two individuals involved in a purported drug transaction

    exchanging 3 kilogram sofcocaine for$30,000 USD attheFairfield 11111parking 1otin Deerfield
    Beach,Florida,atapproxim ately 8:00 PM .U CE 2 wasto portray the role ofa drug courierwho

    wasdelivering drugsand pickingup theproceedsofthepurported saleandsupposedearliersales

    w ho would be stopped by CEN AT.

           26.    On N ovem ber 16,2023,atapproxim ately 12:52 PM ,CEN A T called the CHS via

    Signalto discussthedealwhich supposedly w astakingplaceattheFairfield lnn parking 1otlocated

    in D eerfield Beach atoraround 8 PM .Thiscallwasconsensually recorded by theCH S.The CH S

    againexplained to CENAT thatthe individualbeing stoppedwould havebothdrugsand money in

    the vehicle when thetrafsc stop occurs.CEN AT indicated he willtakethem oney and drugsfrom

    the individualduring thetraffic stop andthen m eetthe CH S to splitw hatwasstolen.TheCH S and

    CENA T discussed splitting the money and drugstaken during the traffk stop and CEN AT stated

    tçlfyou w antthe bread and the m oney you take five and ltaket'wo,and then what...1take 30 and

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   youtake20...oryouwantal17and1'11justtakethemoney...it'swhatever''. CENAT andthe
   CH S then continued to discuss a num ber of split possibilities and CENA T ultim ately indicated

   they could figure itoutonce they saw whatthey gotfrom the stop.CENA T then again asked the

   CH S forinfonnation aboutthe vehicle and driverlike the lasttim e.

                  A t approxim ately 1;09 PM , CH S m essaged CENA T via Signal and provided

   CENA T w ith details aboutthe driver,including his nam e,the city he cam e from ,and the nam es

   ofhissupposed girlfriend and son.Atapproxim ately 7:21PM ,CENA T called the CH S via Signal

   and indicated he was staged in the Fairfield lnn parking lot.This callw as consensually recorded

   by the CH S.Law enforcem entinvolved in thisinvestigation observed CEN AT in hisM pD -issued

   vehicle atthatlocation.CEN AT explained to the CHS where he w ould conductthe traftsc stop

    afterthe drug transaction occursin theparking lot.Atapproxim ately 7:55 PM ,the CH S m essaged

    CEN AT a description ofthe individual'svehicle forthe traffic stop.

           28.    A tapproxim ately 8:11 PM ,CENA T m essaged the CH S via Signal çr ray Toyota

    Tacom a pulled in.Is it him ?''At approxim ately 8:13 PM ,U CE 1 w alked in the Faidield lnn

    parking lotand U CE 2 exited the vehicle to greetU CE 1 atthe back ofthe vehicle and the two

    engaged in a staged drug transaction.A fterthe exchange,UCE 1 walked back to the hotelwith a

    gray bag containing 3 kilosofDEA prop drugs.

           29.    Atapproxim ately 8:15 PM ,UCE 2 began to departthe parking lotofthe Fairfield

    lnn.CEN AT follow ed U CE 2 outoftheparking 1otand turned on the lightsofhisM PD unm arked

    police vehicle to conducta traffc stop ofUCE 2. Once UCE 2 pulled over,CENA T approached

    the vehicle and asked the UCE to turn offthe vehicle and provide their driver's license.UCE 2
    provided CENA T w ith the driver's license.CEN AT then introduced him selfasdçofficerM artez''


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   w ith isBroward County SheriffsO ffice - N arcoticsU nif'.CEN A T told U CE 2 he w itnessed the

   drugtransactionthathadjustoccurredbetweenUCE 1andUCE 2.CENAT askedUCE 2tokeep
   theirhandson the steering wheelwhile CENAT wentto the truck btd ofthevehicle,opened a

   coolersand took a blue duftle bag containing 7 kilosofDEA prop drugsand $80,000 USD in
   officialUnited States G ovem m ent funds belonging to the FB I.CEN AT returned to the driver's

   sidewindow ofUCE 2'svehicleand utilizedtheinformation hereceived from theCHS totryto

   m ake UCE 2 believe he/she wasbeing investigated.CENAT asked UCE 2 ççyou wantto go hom e

   tonight or spend 30 years in... Federalprison?'' and then asked for UCE 2's phone num ber.

    CENA T stated idyou now work form e''and Eçwhen I call...you betteransw er''and ççlf 1callyou

    and you don'tansw er...I'm com ing foryou''.Atapproxim ately 8:21PM ,CEN AT leftthe scene

    with the blueduffle bag containing DEA prop drugsand m oney.Thistraftk stop wasconsensually

    video/audio recorded. ln addition,aspartoftheinvestigation,law enforcem entphotographed and

    recorded theserialnumbersofallthe currency making upthe$:0,000 in U.S.governmentfunds
    before itwasplaced into the blue duftlebag forthisoperation.The $80,000 consisted solely of

    $100bills.Law enforcementalsophotographedthebluedum ebag andtheprop drugsbeforethey

    were used in this operation.

           30.    Atapproxim ately 8:25 PM ,CEN AT called the CH S via Signaland indicated the

    dealwas com pleted and asked w here to m eet forthe split.This callwas consensually recorded.

    CENAT indicated theduftlebag takenfrom thetrafficstop contained 8or10kilosofcocaine.The

    CHS told CENAT to meetattheW almartparking 1otlocated in CoralSprings.Atapproximately

    8:44 PM ,CEN AT arrived in the W alm artparking Iotto m eetw ith theCH S and splitthe proceeds.

    CEN AT exited his M PD issued vehicle and w alked overto the CH S'vehicle.CEN AT wasthen

    arrested by the FBI.

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                 AfterCENAT wasarrested,law enforcementrecovered the bluedufflc bag,the7

   kilosofprop drugs,and alargequantity of$100billsfrom CENAT'Sunmarked M PD vehicle.

                                           CO NCLUSIO N

          32.    Based on m y training and experience as supported by the facts stated in this

   affidavit,l respectfully subm itthatthere is probable cause to believe thatduring the tim e fram e

   described herein,FRENEL CEN AT comm itted HobbsActextortion undercolorofofficialright

   andattemptedHobbsActextortionundercolorofofficialright,inviolationof18U.S.C.j1951(a);
   theftofgovernmentfunds,inviolationofl8U.S.C.j641;andattemptedpossessionwithintentto
    distributecocaine,inviolationof21U.S.C.j846.
          FUR THER YO UR A FFIA NT SAY ETH NA UG H T.




                                                 PECIAL A GEN T LIND Y K ELLIS
                                                FEDER AL BUREAU     W V ESTIGA TION

    subscribkdandswornbeforeme
    thisl7* dayofNovember2023.



      ON ORABLE J RED M .STRAU SS
    U NITED STATES M AG ISTRATE JUD GE




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